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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

In re:                                                    )
                                                          ) Bankruptcy Case
JALIZ WILSON,                                             ) No. 19-10184-BFK
                                                          ) Chapter 7
          Debtor.                                         )

               APPLICATION TO EMPLOY REAL ESTATE AGENT AND BROKER

          COMES NOW H. Jason Gold, Trustee ("Trustee"), by counsel, and files this Application to

Employ Real Estate Agent and Broker, stating to the court as follows:

          1.        H. Jason Gold is the duly qualified and acting chapter 7 Trustee herein.

          2.        Among the assets in this case is a parcel of real property commonly known as 43113

Binkley Circle, Leesburg, Virginia 20176 ("Property").

          3.        In order to market and administer the Property for maximum benefit to the estate and

its creditors, it is necessary to employ the services of a licensed real estate agent and broker.

          4.        Based on the foregoing, the Trustee desires to employ Stephen Karbelk as the real

estate agent and team leader of RealMarkets ("Agent"), who is affiliated with Century 21 New

Millennium ("Broker"), to procure and submit to the Trustee offers to purchase the Property. In

consideration for its services, the Broker will request compensation, upon consummation of any such

sale, for a real estate broker’s commission in an amount equal to six percent (6%) of the sales price.

          5.        Nonetheless, payment of the Broker’s fees and costs shall only be made upon further

order of the Bankruptcy Court.
H. Jason Gold, Va. Bar No. 19117
David M. Barnes, Jr., Va. Bar No. 86747
NELSON MULLINS RILEY & SCARBOROUGH LLP
101 Constitution Avenue, Suite 900
Washington, DC 20001
(202) 689-2800
Counsel to the Chapter 7 Trustee

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          6.        In order to facilitate the sale of the Property under these circumstances, the Trustee

further requests that the Court authorize his Agent, Stephen Karbelk of Century 21 New Millennium

and his co-listing agents, Stephanie Young and Robert Walters of Century 21 New Millennium, to

request and obtain verbal and written payoff statements, payment histories, and related information

and documents from any secured creditor in this case, including LoanCare and CIT Bank (the

“Secured Creditors”); and provide such documents as may be reasonably requested by the Secured

Creditors in connection with any sale.

          7.        The Agent is authorized to put all utility accounts, including the electric, gas and

water accounts, into the name of Stephen Karbelk or Auction Markets, LLC, the Agent’s operating

entity, as Agent for the Trustee. The Agent shall not be responsible for paying any past due amounts

that were incurred prior to the petition date of the bankruptcy filing. Subject to further order and

approval of this court, the Agent shall be reimbursed for all utility expenses upon the sale of the

Property.

          8.        The Agent whom the Trustee proposes to employ has been informed and understands

that no sale may be consummated until after notice and a hearing and with Court approval.

          9.        In addition, to the extent that the Trustee pursues an alternative disposition of the

Property, including a sale of the available equity to the Debtor, the Trustee seeks authority to employ

the Agent to advise the Trustee concerning the value of the Property, at the Agent's rate of

$175/hour. In the event he deems it advisable, the Trustee will seek this Court’s approval for

payment of compensation to the Broker for the value of the Agent’s time in assisting the Trustee.




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          10.       The Trustee believes that the employment of the Agent and Broker on the terms and

conditions provided for herein is in the best interest of the estate.

          11.       The Trustee is satisfied by the Declaration of Real Estate Agent that the Agent is a

disinterested person within the meaning of 11 U.S.C. § 101(14), attached hereto as Exhibit “A.”

          12.       To the best of the Trustee’s knowledge, neither the Agent nor the Broker represent

any interest adverse to the Trustee or the bankruptcy estate, and have no connection with the Debtor,

her creditors, other parties in interest, purchasers or potential purchasers of the subject real estate, the

United States Trustee, or anyone employed by the United States Trustee, except that the Agent, with

the support of either Stephanie Young and/or Robert Walters, have been employed to assist the

Trustee, both in his capacity as Trustee and his personal capacity, with the sale of assets in other

matters.

          13.       The Trustee seeks to employ the Agent and Broker pursuant to 11 U.S.C. § 327(a).

          WHEREFORE, the Trustee respectfully requests the entry of an Order authorizing the

employment of the Agent and Broker as the real estate agent and real estate broker in this case under

the terms described hereinabove and for such further relief as the Court deems just and proper.

                                                          Respectfully submitted,

                                                          H. JASON GOLD, TRUSTEE

                                                          By Counsel




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By:       /s/ David M. Barnes, Jr.
          H. Jason Gold, Va. Bar No. 19117
          David M. Barnes, Jr., Va. Bar No. 86747

Counsel to the Chapter 7 Trustee


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of May 2019, the foregoing Application to Employ
Real Estate Agent and Broker and its accompanying Declaration, were served via U.S. mail upon:

                               Office of the United States Trustee
                               1725 Duke Street, Suite 650
                               Alexandria, VA 22314

                               James P. Campbell
                               Campbell Flannery, P.C.
                               One Village Plaza
                               1602 Village Market Boulevard, Suite 220
                               Leesburg, VA 20175



                                                     /s/ David M. Barnes, Jr.
                                                     David M. Barnes, Jr.




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